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                             EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE


    FUSION ELITE ALL STARS, et al.,

                     Plaintiffs,
               v.
                                                                Civ. Action No. 2:20-cv-02600
    VARSITY BRANDS, LLC, et al.,

                     Defendants.




    JESSICA JONES, et al.,

                     Plaintiffs,
               v.
                                                                Civ. Action No. 2:20-cv-02892
    BAIN CAPITAL PRIVATE EQUITY, et al.

                     Defendants.



    DECLARATION OF WILLIAM SEELY IN SUPPORT OF MOTION TO QUASH OR
           MODIFY SUBPOENA DIRECTED TO MARLENE COTA AND
                       FOR PROTECTIVE ORDER

  I, William Seely, declare as follows:

          1.        I am over twenty-one (21) years of age, of sound mind, and competent to make

  this declaration. I make the following statements based upon my own personal knowledge of the

  facts stated herein.

          2.        I have served in various leadership roles at Varsity Spirt, LLC (“Varsity”) for 30

  years. My current position is President of Varsity, which I have held for more than four years.

  Previously, I served as Senior Vice President and, then, Executive Vice President of the

  organization.
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         3.      Varsity is a subsidiary of Varsity Brands, LLC (“Varsity Brands”), which is a

  subsidiary of Varsity Brands Holding Co., Inc.

         4.      Marlene Cota was employed by Varsity for a number of years prior to January 9,

  2018, when Varsity terminated her employment.

         5.      Ms. Cota entered into at least three agreements with Varsity related to her

  employment.

         6.      On or about June 10, 2005, Ms. Cota executed an Employment Agreement, with

  an Addendum added on or about December 22, 2008. See Exhibits 1(a) and 1(b).

         7.      On or about January 4, 2016, Ms. Cota executed an Employee Confidentiality,

  Non-Solicitation, Non-Competition and Invention Assignment Agreement. See Exhibit 2.

         8.      Following Ms. Cota’s termination of employment, she entered into an Agreement,

  General Release, and Confidentiality Statement on or about January 30, 2018, along with a

  Release that same day. See Exhibits 3(a) and 3(b).

         9.      The agreements attached at Exhibits 1(a), 1(b), 2, 3(a), and 3(b) are, to the best

  of my knowledge and belief, true and accurate copies of the documents each purports to be. The

  Exhibits were made at or near the time of the occurrence of the matters set forth by, or from

  information transmitted by, a person with knowledge of and a business duty to record or transmit

  those matters; were kept in the course of Varsity’s and Varsity Brand’s regularly conducted

  activities; and were made by the regularly conducted activities as a regular practice.

         10.     I declare under penalty of perjury that the foregoing is true and correct. Executed

  on December 22, 2021.


                                                               _____________________________
                                                               William Seely
